Case 2:02-CV-02455-.]DB-STA Document 97 Filed 08/25/05 Page 1 of 9 Page|D 96

iN THE UNITED sTATEs l)IsTRICT CoURT F"£D B`f ~-)@ - ¢:).r;.
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 f U
WESTERN DIvlsIoN “ 9 35 PH 3= 15

THOiirg;¢
CU~:H<, U.S, f_‘;:';` `fXU Ui-D
as a 755 lijggaa

SMITH & NEPHEW, I.NC.,
Plaintiff,
v.

NO. 02-2455 B/An

FEDERAL INSURANCE CO.,

"\_/\-_»'\-/\_#W\,/\._i\-/\_J

Defendant.

 

ORDER DENYING MOTION T() COMPEL

 

Before the Court is Defendant’s Motion to Compel filed on May 2, 2005. United States
District Judge J . Daniel Breen referred this matter to the Magistrate Judge for determination, and
the Court held a hearing on this matter on June 21, 2005. For the reasons set forth below, the
l\/lotion is DENIED.

BACKGROUND

Plaintiff filed this action against Defendant after Defendant refused to defend or
indemnify Plaintiff in the underlying matter of Reid v. sz`fh & Nephew in the United States
District Court for the Western District of Texas (the “Reia' lawsuit”). Plaintiff claims that it
incurred approximately $937,000.00 in attorney’s fees and costs in defending the Reid lawsuit,
and Plaintiff also seeks to recover 3250,000.00 Which it paid to settle the Reid lawsuit Two
years after the Reia' lawsuit was iiled, Plaintiff provided Defendant with a copy of the Arnended

Complaint. ln l\/lay 1999, after learning of the claim, Defendant denied Plaintiff”s request to

(;B
noon dan
he
ed en the dock Wj;
1 , apt antef FP`CP on

. OCU\-n 5
me ci'\u\e ss a“di°‘ mi
\¢\|'\'l\"\ __‘

517

defend it in the Rei`d lawsuit

w

Case 2:02-cV-02455-.]DB-STA Document 97 Filed 08/25/05 Page 2 of 9 Page|D 97

ln the instant action, Defendant questions the reasonableness and necessity of the amount
of fees and costs claimed by Plaintiff from the Reia' lawsuit; therefore, Defendant served a
subpoena duces tecum to trial counsel from the underlying action. Mr. Laurence Macon, lead
counsel from the Reid lawsuit, and Mr. Macon’s law firm of Akin Gump Strauss Hauyer & Feld,
LLP withheld numerous documents from Defendant on the grounds of the work product doctrine
Similarly, relying on the attorney-client privilege and the work product doctrine, Plaintiff has
refused to produce numerous documents pursuant to Defendant’s Rule 30(b)(6) deposition
notice.

Defendant filed this Motion pursuant to Fed. R. Civ. P. 37 requesting that the Court enter
an Order compelling Plaintiff to produce ali documents and things responsive to the subpoena
served on Plain.tiff’s trial counsel in the Reid lawsuit Defendant argues that any privilege relied
upon by Plaintiff or their trial counsel was waived when Plaintiff placed the amount of attorney’s
fees and costs “at issue” in the instant iawsuit. Alternatively, Defendant requests that if the Court
finds Plaintit`f accurately relied on the privilege, the Court should instruct the trial jury that all
information withheld by Smith & Nephew on the grounds of privilege should be presumed not to
support Plaintii`i"s claims

Plaintiff responded to the Motion to Compel on May 17, 2005. ln its Response Plaintiff
argues that it has not waived any privilege and that it should not be required to produce the
documents and things in question. Plaintiff further requests that the Court order that Defendant
should not be permitted to introduce or elicit any reference to Plaintiff" s invocation of its

privileges regarding the Reid lawsuitl

Case 2:02-cV-02455-.]DB-STA Document 97 Filed 08/25/05 Page 3 of 9 Page|D 98

ANALYSIS
I. Attorney-Client Privilege and Work Product Doctrine

"Parties may obtain discovery regarding any matter, not privileged, that is relevant to the
claim or defense of any party . . . .” Fed. R. Civ. P. 26(b)(1). Relevancy means that the evidence
“appears reasonably calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P.
26(b)(l); see also Coler.»tan v. Am. Red Cross, 23 F.3d 1091, 1097 (6th Cir. 1994). The Court
should broadly interpret whether evidence is relevant See Oppenheimer Fund, Inc. v. Sanders,
437 U.S. 340, 351 n.12 (1978) (quoting 4 .l. l\/Ioore, Federal]’raclfce § 26.96[1], at 26-]31 n.34
(Zd ed. 1976)). Both this Circuit and the United States Supreme Court have noted that the scope
ofdiscovery is extremely broad under the Federal Rules of Civil Procedure and “is . . . within the
broad discretion of the trial court.” Lewi's v. ACB Business Servs. ]nc., 135 F,3d 389, 402 (6th
Cir. 1998); see also Schlagenhaufv. Hofder, 379 U.S. 104. ] ]4-15 (1964) (citations omitted).

ln this matter, Plaintiff has refused to produce various documents and things. Plaintiff
argues it should not be required to produce the documents and things because these items are
protected by the attorney-client privilege and the work product doctrine. The party raising a
privilege has the burden of establishing the existence of the privilege. Fed. R. Civ. P. 26(b)(5).
The objection must include sufficient information so that the Court and opposing counsel can
assess the applicability of the privilege Warrs v. Federal Express Corp., No. 99-CV-70l , 2001
WL 1661474, at *6 (W.D. l\/Iich. Apr. 11, 2001)

The attorney-client privilege is the oldest of privileges, and “courts are properly hesitant
to intrude upon the private communications of clients and their attorneys.” Royaf Surplus Lz'nes

]m‘. Co. v. Sofamor Danek Group, ]HC., 190 F.R.D. 505, 509 (W.D. Tenn. 1999). “Its purpose is

Case 2:02-cV-02455-.]DB-STA Document 97 Filed 08/25/05 Page 4 of 9 Page|D 99

to encourage full and frank communication between attorneys and their clients and thereby
promote broader public interests in the observance of law and administration ofjustice.” Upjc)/tn
Co. v. United Slare.s', 449 U.S. 383, 389 (1988). 1n Tennessee, “[n]o attorney . . . shall be
permitted . . . to disclose any communication made to the attorney.” Tenn. Code Ann. § 23-3-
105 (2004); See also Boyd v. Comdaia Network, ]nc., 86 S.W.3d 203, 213 (Tenn. Ct. App. 2002).
"The privilege applies not only to the client’s communications but also to the attorney’s
communications to his or her client when the attorney’s communications are specifically based
on the client’s confidential communications or when disclosing the attorney’s communications
would . . . reveal the substance of the client’s confidential communications.” Boyd, 86 S.W.3d at
213.

Plaintiff also relies on the work product doctrine, which “spring[s] from the same
common law origin” as the attorney-client privilege fn re Grand Jury Proceedings, 473 F.2d
840, 844 (Sth Cir. 1973). Overall, documents made in anticipation of litigation are privileged
under the work product doctrine Fed. R. Civ. P. 26(b)(3). “The party seeking the protection of
the work-product privilege has the burden of proving that the disputed documents are work
product.” Roycil Surpfus Lines ]HS. v. Sofamor Danek Group, 190 F.R.D. 463, 473 (W.D. Tenn.
1999). Nevertheless, the work product doctrine “is distinct from and broader than the attorney-
client privilege.” United States v. Nob!es, 422 U.S. 225, 238 n.11 (1975).

The Defendant contends in the instant motion that the Plaintiff waived any privilege it
might have otherwise asserted because the amount of defense costs and the reasonableness and
necessity of those costs are directly in issue The Defendant argues that by filing this lawsuit,

Plaintiff places the fees at issue and in so doing, waived its right to assert these privileges

Case 2:02-cV-02455-.]DB-STA Document 97 Filed 08/25/05 Page 5 of 9 Page|D 100

Because it is undisputed that Plaintiff has not expressly waived the applicable privileges, the
Court must address whether Plaintiff impliedly waived the attorney-client privilege and work
product doctrine when it filed the instant suit against Defendant

tn Tennessee, a party impliedly waives the attorney-client privilege or work product
doctrine when three conditions are present:

(l) assertion of the privilege was a result of some affirmative act, such as filing

suit, by the asserting party; (2) through this affirmative act, the asserting party put

the protected information at issue by making it relevant to the case; and (3)

application of the privilege would have denied the opposing party access to

information vital to his defense
Bryan v. Slale, 848 S.W.2d 72, 81 (Tenn. Ct. App. 1992) (citing Hearn v. Rhay, 68 F.R.D. 574
(E.D. Wash. 1975)); see also Kirchner v. Mifsui & Co., ]nc., 184 F.R.D. 124 (M.D. Tenn. 1998).
Defendant argues that Plaintiff impliedly waived any applicable privilege when it placed the
attorney’s fees and costs from the Reid lawsuit at issue in this case Defendant requests that it
should be entitled to review documents and things from the Reid lawsuit in order to analyze the
reasonableness and necessity of Plaintifi"’s claim for almost one million dollars in attorney’s fees
and costs.

After review, the Court concludes that Plaintiff has not impliedly waived any applicable
privilege This case is factually similar to two cases cited by Plaintiff in their Response. fn the
first case, Microsoj‘ Corp. v. Federal lnsurance Co., Microsoft brought an action against the
same defendant involved in this case (“Federal”) after Federal failed to pay settlement costs and
nearly three million dollars in legal fees incurred by the plaintiffs counsel during a civil antitrust

trial. See M.icrosojt Corp. v. Fed. fns. CO., No. MS-SS(HB), 2003 WL 548758 (S.D.N.Y. Feb.

25, 2003). F ederal served a subpoena on Microsoft’s trial counsel, and after the trial counsel

Case 2:02-cV-02455-.]DB-STA Document 97 Filed 08/25/05 Page 6 of 9 Page|D 101

refused to produce the documents, Federal filed a motion to compel. Similar to this case, Federal
argued that production of the documents was “needed to determine what work these law firms
performed, how it related to [other] lawsuits, whether this work was reasonable and necessary to
the defense, how the fees were determined, and whether the fees were reasonable.” Id. at *1.

Ultimately, the district court in New York denied the motion to compel after determining
there was not an implied waiver of the attorney-client privilege In Microsoj?, the court first
noted that F ederal cited no authority holding that the mere assertion of a claim for
indemnification waives all applicable privilege law, and in this case, the Court finds the same to
be true Federal is unable to cite any Tennessee authority which requires the production of
documents and things in indemnification suits. After deciding that Federal had provided no
persuasive legal authority to the court, the Mz'crosofr court held that Federal was able to review
the reasonableness and necessity of the plaintiffs claim by analyzing time sheets and billing
records ]a'. at ’*‘3. ln the instant matter, Plaintiff has already provided Defendant with time
records and billing statements; therefore, the Court is not prepared to require Plaintiff to produce
additional documents and things

ln the second case, Remirzgton Arms Co. v. Liberfy Mutuaf fnsurance Co., the plaintiff
sued the defendant after the defendant insurance company failed to commit itself to coverage in
an underlying action. See Remington Arms Co. v. Liberty Mufuat' fns. CO., 142 F.R.D. 408, 410
(D. Del. 1992). Siniilar to the instant action, the defendant in Liberly Murucrf requested
documents from the plaintiff, and the plaintiff withheld numerous documents based upon the
attorney-client privilege and work product doctrine The defendant then filed a motion to compel

with the court, and similar to the Microsoft case, the Lt'berzfy Murual court denied the motion to

Case 2:02-cV-02455-.]DB-STA Document 97 Filed 08/25/05 Page 7 of 9 Page|D 102

compel, even though the defendant argued that the plaintiff waived any applicable privilege law
by putting its conduct and knowledge from an underlying action “at issue” in the case.

Lil)erry Mutual examined the issue of implied waiver in great detail. Noting that the “at
issue” doctrine stems from traditional notions of implied waiver, the court held that expansive
applications of the implied waiver doctrine had led to “substantial academic criticism.” ld. at
414. rl`he Court reasoned that expansive application of the doctrine led “to a type of ad hoc
determination that ignores the system-wide role of the attorney-client privilege and undermines
any confidence that parties can place in that privilege.” ]d. As such, the court denied the motion
to compel and held that no waiver could be found simply because the plaintiff brought an action
against the defendant insurance company. ]d. at 415-16.

Following the reasoning of Mt`crosoft and Liberty Mutual, the Court declines to adopt an
expansive application of Tennessee’s implied waiver law contained within the Bryrm test.
l\/Ioreover, the Court concludes that the third prong of the Bryan test, which requires a party to
prove that the information requested is vital to the party’s defense, has not been met As already
mentioned, Plaintiff has produced to Defendant complete sets of its trial counsel’s bill from the
Rei`d lawsuit Plaintiff has also provided to Defendant copies of pleadings, discovery papers,
motions, transcripts and the like from the Reid lawsuit The Court sees no reason why Defendant
cannot ascertain the reasonableness and necessity of Plaintiff’s claim for legal fees from these
items. The Court concludes the Bryan test has not been satisfied and that there has been no

implied waiver. F or these reasons, the l\/Iotion to Compel should be DENIED.

Case 2:02-cV-02455-.]DB-STA Document 97 Filed 08/25/05 Page 8 of 9 Page|D 103

lI. Motions Conccrning the Trial .Iury

ln its l\/lotion, Defendant also requests that the Court order the trial court to instruct the
jury that all of the information withheld by Plaintiff on privilege grounds should be presumed not
to support the Plaintiff" s claims. Alternatively, in its Response, Plaintiff requests that the Court
prevent Defendant from introducing or making any reference to Plaintiff` s invocation of its
privileges. After due consideration, the Undersigned concludes that such determinations can be
better decided by the trial judge; therefore, the Court declines to rule on Plaintiff s and
Defendant’s requests at this time The parties can file appropriate motions and/or requests for
Jury lnstructions with the District Court prior to trial if they so desire

QQ§QIM

For the reasons set forth aboveJ the l\/[otion to Compel is DENIED. Pursuant to the
Order of Reference, any objections to this Order shall be made in writing within ten days after
service of this Order and shall set forth with particularity those portions of the Order objected to
and the reasons for those objections

IT IS SO ORDERED.

(s.”'/,Z;a QA~

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: Z()ra¢j' 26 306(

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 97 in
case 2:02-CV-02455 was distributed by fax, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

William B. lakes
HOWELL & FISHER

300 .1 ames Robertson Pkwy
Nashville, TN 37201--1 10

Mark Vorder-Bruegge

WYATT TARRANT & COl\/[BS
P.O. Box 775000

l\/lemphis7 TN 38177--500

Martin C. Pentz

FOLEY HOAG LLP

Seaport World Trade Center West
15 5 Seaport Blvd.

Boston7 MA 02210--260

Honorable .1. Breen
US DISTRICT COURT

